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                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT

LISA KWESELL; CHRISTINE                       :       CASE NO: 3:19-cv-01098 (KAD)
TURECEK; AND JASON SCHWARTZ,                  :
individually and on behalf all others         :
similarly situated,                           :
                                              :
               Plaintiffs,                    :
                                              :
v.                                            :
                                              :
YALE UNIVERSITY,                              :
                                              :
               Defendant.                     :       February 18, 2022




                                   JOINT STATUS REPORT

       The Parties write to provide a further status update to the Court. The Parties continue to

make good progress in finalizing the settlement documentation and are close to finalizing all

attachments to the settlement agreement. While the Parties have been diligently working to

finalize the agreement, they require additional time to do so and obtain signatures from all

parties. The Parties anticipate that they will be able to finalize the Agreement and accompanying

exhibits within fourteen days and that Plaintiffs will submit a Motion for Preliminary Approval

once finalized. The Parties therefore request a further extension of the stay in this case for a

period of fourteen days to permit them to finalize the Settlement Agreement and Exhibits and for

Plaintiffs to prepare their Motion for Preliminary Approval.




                                                      [Signature blocks on following page]
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                                  RESPECTFULLY SUBMITTED,

                                  THE DEFENDANT

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                                 CERTIFICATE OF SERVICE

        I hereby certify that, on the above-stated date, a copy of the foregoing was filed

electronically and served by mail on anyone unable to accept electronic filing. Notice of this

filing will be sent by email to all parties by operation of the Court’s electronic filing system and

by mail to anyone unable to accept electronic filing as indicated on the Notice of Electronic

Filing. Parties may access this filing through the Court’s CM/ECF System.



                                                      /s/ Kim E. Rinehart
                                                      Kim E. Rinehart




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